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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

Brian Cassidy,                          )
                                        )
      Plaintiff,                        )
                                        )
      v.                                )         No.   10 C 8097
                                        )
Zwicker & Associates, P.C., a           )
Massachusetts professional corporation, )
                                        )
      Defendant.                        )         Jury Demanded

                                       COMPLAINT

       Plaintiff, Brian Cassidy, brings this action under the Fair Debt Collection

Practices Act, 15 U.S.C. § 1692, et seq. ("FDCPA"), for a finding that Defendant’s debt

collection actions violated the FDCPA, and to recover damages for Defendant’s

violation of the FDCPA, and alleges:

                              JURISDICTION AND VENUE

       1.     This Court has jurisdiction pursuant to § 1692k(d) of the FDCPA, and 28

U.S.C. § 1331.

       2.     Venue is proper in this District because: a) part of the acts and

transactions occurred here; and, b) Defendant transacts business here.

                                         PARTIES

       3.     Plaintiff, Brian Cassidy ("Cassidy"), is a citizen of the State of Florida from

whom Defendant continued to attempt to collect a delinquent consumer debt, despite

the fact that he had demanded, through the legal aid attorneys at the Chicago Legal

Clinic's Legal Advocates for Seniors and People with Disabilities program ("LASPD"),

located in Chicago, Illinois, that Defendant cease its collection actions.
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       4.     Defendant, Zwicker & Associates, P.C. (“Zwicker"), is a Massachusetts

corporation, and law firm, that acts as a debt collector, as defined by § 1692a of the

FDCPA, because it regularly uses the mails and/or the telephone to collect, or attempt

to collect, delinquent consumer debt. In fact, Zwicker was acting as a debt collector as

to the delinquent consumer debts it attempted to collect from Plaintiff.

      5.     From Defendant Zwicker's offices in Illinois, Georgia, Texas, New York,

Maryland, and Massachusetts, Defendant operates a nationwide debt collection

business and attempts to collect delinquent debts from consumers throughout the

country, including consumers in the State of Illinois. Defendant Zwicker’s Illinois office

is located in Lincolnwood, Illinois, from which it regularly conducts business in Illinois.

See, printouts from Zwicker’s web site, which are attached as Group Exhibit A.

      6.     In fact, Defendant Zwicker is licensed to do business in the State of Illinois,

and maintains a registered agent within the State of Illinois. See, record from the Illinois

Secretary of State, a copy of which is attached as Exhibit B.

                                FACTUAL ALLEGATIONS

       7.     Mr. Cassidy is a disabled senior citizen, with limited assets and income,

who fell behind on paying his bills. When Defendant Zwicker began trying to collect a

delinquent debt from Mr. Cassidy, he sought the assistance of legal aid attorneys at the

Chicago Legal Clinic’s LASPD program, regarding his financial difficulties and

Defendant Zwicker's collection actions.

       8.     On October 11, 2010, one of Mr. Cassidy's attorneys at LASPD informed

Defendant Zwicker, in writing, that Mr. Cassidy was represented by counsel, and

directed Zwicker to cease contacting him, and to cease all further collection activities



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because Mr. Cassidy was forced, by his financial circumstances, to refuse to pay his

unsecured debt. Copies of this letter and fax confirmation are attached as Exhibit C.

       9.     Nonetheless, Defendant Zwicker continued to call Mr. Cassidy to demand

payment of the debt, including but not limited to a call on or around November 23, 2010,

from telephone number 800-370-2251.

       10.    Accordingly, via a letter dated November 29, 2010, one of Mr. Cassidy’s

LASPD attorneys wrote Defendant Zwicker, to again demand that Zwicker cease

collection of the debt. Copies of this letter and fax confirmation are attached as Exhibit

D.

       11.    All of Defendant Zwicker's collection actions complained of herein

occurred within one year of the date of this Complaint.

       12.    Defendant Zwicker's collection communications are to be interpreted

under the “unsophisticated consumer” standard. See, Gammon v. GC Services, Ltd.

Partnership, 27 F.3d 1254, 1257 (7th Cir. 1994).

                                      COUNT I
                      Violation Of § 1692c(c) Of The FDCPA --
             Failure To Cease Communications And Cease Collections

       13.    Plaintiff adopts and realleges ¶¶ 1-12.

       14.    Section 1692c(c) of the FDCPA prohibits a debt collector from

communicating with a consumer after a direction to cease communications, and from

continuing to demand payment of a debt that the consumer has indicated that they

refuse to pay. See, 15 U.S.C. § 1692c(c).

       15.    Here, the letter from Mr. Cassidy's agent, LASPD, told Defendant Zwicker

to cease communications and cease collections (Exhibit C). By continuing to



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communicate regarding this debt and demanding payment, Defendant Zwicker

violated § 1692c(c) of the FDCPA.

      16.    Defendant Zwicker’s violation of § 1692c(c) of the FDCPA renders it liable

for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. § 1692k.

                                   COUNT II
                  Violation Of § 1692c(a)(2) Of The FDCPA --
            Communicating With A Consumer Represented By Counsel

      17.    Plaintiff adopts and realleges ¶¶ 1-12.

      18.    Section 1692c(a)(2) of the FDCPA prohibits a debt collector from

communicating with a consumer if the debt collector knows that the consumer is

represented by an attorney with respect to such debt and has knowledge of, or can

readily ascertain, such attorney’s name and address. See, 15 U.S.C. § 1692c(a)(2).

      19.    Defendant Zwicker knew that Mr. Cassidy was represented by counsel in

connection with his debts because his attorneys at LASPD had informed Defendant, in

writing (Exhibit C), that he was represented by counsel, and had directed Defendant

Zwicker to cease directly communicating with Mr. Cassidy. By directly calling Mr.

Cassidy, despite being advised that he was represented by counsel, Defendant Zwicker

violated § 1692c(a)(2) of the FDCPA.

      20.    Defendant Zwicker’s violation of § 1692c(a)(2) of the FDCPA renders it

liable for statutory damages, costs, and reasonable attorneys’ fees. See, 15 U.S.C. §

1692k.

                                 PRAYER FOR RELIEF

      Plaintiff, Brian Cassidy, prays that this Court:

      1.     Find that Defendant Zwicker's debt collection actions violated the FDCPA;



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       2.     Enter judgment in favor of Plaintiff Cassidy, and against Defendant

Zwicker, for statutory damages, costs, and reasonable attorneys’ fees as provided by §

1692k(a) of the FDCPA; and,

       3.     Grant such further relief as deemed just.

                                      JURY DEMAND

       Plaintiff, Brian Cassidy, demands trial by jury.

                                                     Brian Cassidy,

                                                     By: /s/ David J. Philipps_______
                                                     One of Plaintiff's Attorneys

Dated: December 21, 2010

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